                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                             3:09-cr-0084-MOC-SCR

UNITED STATES OF AMERICA,

              Plaintiff,
vs.                                          UNOPPOSED MOTION TO CONTINUE
                                                     SENTENCING
DAMIEN CABBLE,

              Defendant.




          NOW COMES, the undersigned Counsel for the Defendant and hereby
  respectfully requests that the Court continue the sentencing hearing, currently
  scheduled for July 15, 2024, to a later date. In support of this motion, the
  Defendant shows the following:
          On May 31, 2024, the Court set conditions of release to allow the
  Defendant to participate in inpatient alcohol rehabilitation. (Docs 145 & 146)
  The Defendant’s program is not yet complete. It is anticipated that once
  successfully completed, the parties will have a joint recommendation for final
  disposition before the Court.
          The United States has been informed of this motion and does not oppose
  the same. This motion is made in good faith and not for purposes of
  unwarranted delay.




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       WHEREFORE, Counsel respectfully requests that the Court continue the
sentencing hearing in this case to a future date.



       Respectfully submitted this 8th day of July, 2024.


                                                    /s/ S. Frederick Winiker, III
                                                    NC State Bar No. 22390
                                                    Winiker Law Firm, PLLC
                                                    352 North Caswell Rd
                                                    Charlotte, NC 28204
                                                    (Phone) (704) 333-8440
                                                    (Fax) (704) 831-5274
                                                    swiniker@winikerlaw.com




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                          CERTIFICATE OF SERVICE

       I hereby certify that the attached pleading was served upon the following
attorney by electronic service through the court’s ECF filing process:

William Thomas Bozin
U.S. Attorney's Office
227 West Trade Street
Suite 1650, Carillon Building
Charlotte, NC 28202
704-816-1625
Email: william.bozin@usdoj.gov

      This the 8th day of July, 2024.



                                               /s/ S. Frederick Winiker, III
                                               NC State Bar No. 22390
                                               Winiker Law Firm, PLLC
                                               325 North Caswell Rd
                                               Charlotte, NC 28204
                                               (Phone) (704) 333-8440
                                               (Fax) (704) 831-5274
                                               swiniker@winikerlaw.com




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